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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 CARNEGIE MELLON UNIVERSITY,     )
                                 )
             Plaintiff,          )
                                 )
         vs.                     )                             Civil Action No. 09-290
                                 )                             Judge Nora Barry Fischer
 MARVELL TECHNOLOGY GROUP, LTD.  )
 et al.,                         )
                                 )
             Defendants.         )
                             ORDER

       AND NOW, this 23rd day of December, 2013, upon consideration of CMU’s Motion and

Verified Petition for Supplemental Relief in Aid of Execution (Docket No. [908]), Marvell’s Brief in

Opposition (Docket No. [912]), CMU’s Reply Brief (Docket No. [914]), Marvell’s Sur-Reply Brief

(Docket No. [914]), and all of the supporting exhibits presented by both parties,

       IT IS HEREBY ORDERED that CMU’s Motion [908] is DENIED, without prejudice, to

CMU seeking any appropriate relief after the final judgment is entered in this case. To this end,

because the Court has not ordered Marvell to post a bond at this juncture of the case and CMU has

not acted to secure its judgment on the jury’s verdict for nearly eleven months, the Court is presently

satisfied with Marvell’s efforts to obtain a $1.5 billion supersedeas bond pending its forthcoming

appeal as set forth in the declaration of Robert McDonough. (Docket No. 915-1). The Court expects

both parties to reasonably negotiate the terms of any such bond after the final judgment is entered.

If disputes remain, the Court will appoint a Special Master to oversee such negotiations, with the

costs for same to be shared equally by the parties.

                                                               s/Nora Barry Fischer
                                                               Nora Barry Fischer
                                                               U.S. District Judge
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cc/ecf: All counsel of record
